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                           N THE LINITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

 KENNETH CAN,
 TDCJ-CID No. 014617 10,

             PlaintifT,

 V                                                         2:23-CV-0 lS-Z-BR

 NORTHWEST TEXAS CHARLESTON' S
 CHARLESTON'S HOSPITAL, et al.,

             Detendants.


      ORDER ADOPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION

        Before the Court are the findings, conclusions, and recommendation of the United States

Magistrate Judge to dismiss the Complaint pursuantto 42 U.S.C. Section 1983 filed by Plaintiff

(ECF No. 7). No objections to the findings, conclusions, and recommendation have been filed.

After making an independent review of the pleadings, files, and records in this case, the Court

concludes that the findings, conclusions, and recommendation of the Magistrate Judge are correct.

It is therefore ORDERED that the findings, conclusions, and recommendation of the Magistrate

Judge be ADOPTED and the case DISMISSED without prejudice.


        SO ORDERED.

        Janua ry   U,2024.


                                                             J. KACSMARYK
                                                    UNITED STATES DISTRICT JIJDGE
